Case 1:12-cv-00869-HB Document 46

Filed 07/01/13 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF NEW YORK

 

TOPEVER CORPORATION,
Plaintiff,
Vs.

THE ENE GROUP LLC, THE
UNDERGROUND GROUP LLC, SALLY
JEMAL, ROBERT GROSSMAN, as an
individuals and as agents of The ENE Group
LLC and The Underground Group LLC, JOHN
DOES IJ-X, fictional defendants whose identities
are not presently known to plaintiffs but who are
liable to defendants for the causes of action set
forth in this Complaint,

Defendants:

 

 

 

 

Civil Action No.: 1:12-cv-0869-HB

STIPULATION AND ORDER DISMISSING PLAINTIFF’S COMPLAINT WITH
PREJUDICE AGAINST ALL DEFENDANTS

Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff in the above-captioned

case and all Defendants, hereby request that the Court

enter this voluntary dismissal with

prejudice of Plaintiffs Complaint and all Amended Complaints against all Defendants.

  

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(On behalf of Plaintiff, TOPEVER CORPORATION)

 
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Dated: 6 Hi off 3

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(On behalf of the NAMED DEFENDANTS)

 

SO ORDERED

 

. The Honorable Harold Baer, Jr.

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street

Chambers 2230

New York, New York 10007

Dated:
